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Case 4:09-cr-00043-SPF Document 75-7 Filed
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                                                INTERNAl REVENUE SERVICE
                                                   Washington. D.C. 20224




                                                           OCT 14 2003


    MEMORANDUM FOR KEVIN MCCARTHY
                   ATAT TERRITORY MANAGER

    FROM:                               Mark A. Jaramillo, Program Manager/sf .
                                        SBISE Lead Development Center

    SUBJECT:                            Lindsey Springer I CI Primary Investigation #150320424
                                        IRC §6700 Penalty Investigation                  .


    A promoter investigation has previously been authorized by the SB/SE Lead
    Development Center on the above named investigation(s). Meanwhile, Criminal
    Investigation's (CI) field offices have completed further reviews and may be interested in
    a parallel criminal investigation.

    CI will contact the ATAT Territory Manager to arrange a Six-Way ConferenCe. Please
    do not make any contacts with the subjects of the investigation(s) until contacted by CI.
    Normally, CI should make contact with you within 3o-days. Should you wish to make
    contact with CI regarding the investigation(s) prior to their initiation of a Six-Way
    Conference, contact your local CI function and reference the Primary Investigation (PI)
    number included above. If you need assistance with contacting CI you can contact your .
    local fraud referral specialist and they will be available to assist you.

    If you have any questions, 'please contact Lynn Brummelen at (949) 3894027.

    cc: Area 10 PSP AT AT Coordinator
        FRS Manager, Group 4




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